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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors. 1                          (Jointly Administered)


               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
         ZOOM HEARING ON OCTOBER 16, 2023 AT 2:00 P.M. (EASTERN TIME2)


    This hearing will be conducted via zoom only before the Honorable Thomas M. Horan in
    the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th
                                     Floor, Courtroom #5.
    All participants over Zoom must register in advance. Please register by October 16, 2023,
                             at 12:00 p.m. (EST) at the link below.

      https://debuscourts.zoomgov.com/meeting/register/vJIscO2grTwtG92H-4oT6k5JEHTqGWxziB0



MATTER GOING FORWARD

          1. Debtor’s Motion to Continue Hearing the Application of the Official Committee of
             Unsecured Creditors for Entry of an Order (I) Authorizing the Retention and
             Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(a)
             and 1103(a) [Filed October 13, 2023] (Docket No. 534).

          Response Deadline: At the hearing.

          Responses Filed:

                   a.       [SEALED] Official Committee of Unsecured Creditors’ Objection to the
                            Debtors’ Motion to Continue the Hearing on the Committee’s Application
                            to Retain Jefferies LLC as Investment Banker [Filed October 15, 2023]
                            (Docket No. 541).

                   b.       [REDACTED] Official Committee of Unsecured Creditors’ Objection to
                            the Debtors’ Motion to Continue the Hearing on the Committee’s
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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
      Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.
2     All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.
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                        Application to Retain Jefferies LLC as Investment Banker [Filed October
                        15, 2023] (Docket No. 542).

        Related Documents:

                   a.   Application of the Official Committee of Unsecured Creditors for Entry of
                        an Order (I) Authorizing the Retention and Employment of Jefferies LLC
                        as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a),
                        Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed September 20, 2023] (Docket No. 334).

                   b.   First Supplemental Declaration of Leon Szlezinger in Support of the
                        Application of the Official Committee of Unsecured Creditors for Entry of
                        an Order (I) Authorizing the Retention and Employment of Jefferies LLC
                        as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a),
                        Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed September 30, 2023] (Docket No. 405).
                   c.   Notice of Filing of Revised Order Regarding Application of the Official
                        Committee of Unsecured Creditors for Entry of an Order (I) Authorizing
                        the Retention and Employment of Jefferies LLC as Investment Banker
                        Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of September 1.
                        2023 and (II) Waiving Certain Time-Keeping Requirements [Filed
                        September 30, 2023] (Docket No. 406).

                   d.   Debtor’s Objection to Application of the Official Committee of Unsecured
                        Creditors for Entry of an Order (I) Authorizing the Retention and
                        Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C.
                        §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II) Waiving
                        Certain Time-Keeping Requirements [Filed October 4, 2023] (Docket No.
                        446).

                   e.   Joinder of Euagore, LLC and the Foris Prepetition Secured Lenders to the
                        Debtor’s Objection to Application of the Official Committee of Unsecured
                        Creditors for Entry of an Order (I) Authorizing the Retention and
                        Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C.
                        §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II) Waiving
                        Certain Time-Keeping Requirements [Filed October 4, 2023] (Docket No.
                        450).

                   f.   Second Supplemental Declaration of Leon Szlezinger in Support of the
                        Application of the Official Committee of Unsecured Creditors for Entry of
                        an Order (I) Authorizing the Retention and Employment of Jefferies LLC
                        as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a),
                        Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed October 10, 2023] (Docket No. 496).

                   g.   Notice of Filing of Amended Second Supplemental Declaration of Leon
                        Szlezinger in Support of the Application of the Official Committee of
                        Unsecured Creditors for Entry of an Order (I) Authorizing the Retention
                        and Employment of Jefferies LLC as Investment Banker Pursuant to 11
                        U.S.C. §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II)
                        Waiving Certain Time-Keeping Requirements [Filed October 10, 2023]
                        (Docket No. 503).

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                   h.   Ad Hoc Noteholder Group’s Statement in Support of the Application of
                        the Official Committee of Unsecured Creditors for Entry of an Order (I)
                        Authorizing the Retention and Employment of Jefferies LLC as
                        Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [Filed
                        October 13, 2023] (Docket No. 529).

                   i.   Statement of Ad Hoc Cross-Holder Group in Support of the Official
                        Committee of Unsecured Creditors’ Application for Entry of an Order (I)
                        Authorizing the Retention and Employment of Jefferies LLC as
                        Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective
                        as of September 1, 2023 and (II) Waiving Certain Time-Keeping
                        Requirements [Filed October 13, 2023] (Docket No. 531).

                   j.   Omnibus Reply of the Official Committee of Unsecured Creditors to (A)
                        Objection of the Debtors and (B) Objection of the DIP Lender and Foris
                        Prepetition Lenders to the Committee’s Application to Retain Jefferies
                        LLC as Investment Banker [Filed October 13, 2023] (Docket No. 533).
        Status: This matter is going forward via zoom only.


                                                PACHULSKI STANG ZIEHL & JONES LLP
Dated: October 16, 2023
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